

People v Anonymous (2020 NY Slip Op 05978)





People v Anonymous


2020 NY Slip Op 05978


Decided on October 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 22, 2020

Before: Renwick, J.P., Manzanet-Daniels, Gesmer, Oing, JJ. 


Ind No. 5046/15 5046/15 Appeal No. 12174 Case No. 2018-1621 

[*1]The People of the State of New York, Respondent,
vAnonymous, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Benjamin Rutkin-Becker of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Michael J. Yetter of counsel), for respondent.



Judgment, Supreme Court, New York County (Michael J. Obus, J.), rendered April 21, 2017, convicting defendant, upon his plea of guilty, of assault in the first degree and criminal possession of a weapon in the second degree, and sentencing him to concurrent terms of 8 years with 5 years' postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the sentence to concurrent terms of 5 years with 2½ years' postrelease supervision, and otherwise affirmed.
We find the sentence excessive to the extent indicated. The record does not establish a valid appeal waiver.	
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 22, 2020








